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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      No. 1:21-cr-00043-CJN
        v.                                    :
                                              :
RASHA ABUAL-RAGHEB,                           :
                                              :
                Defendant.                    :

                    GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through the Acting United States Attorney for the

District of Columbia, respectfully submits this sentencing memorandum. Pursuant to a plea

agreement, the defendant has pled guilty to one count of parading, demonstrating or picketing in

a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(G), for her conduct in connection with

the January 6, 2021 attack on the U.S. Capitol. Her offense of conviction carries a maximum

penalty of six months of incarceration. Based upon her consistent violent rhetoric before, on and

after January 6, 2021 – including her social media post that “Civil War is coming and I will be

happy to be a part of it”--the government requests that this Court sentence the defendant to a 30-

day period of incarceration.

   I.        Introduction

        The violent attack on the Capitol Building interrupted the certification of the 2020

Electoral College vote count, injured more than one hundred law enforcement officers, directly

resulted in the deaths of four individuals, and caused more than one million dollars in property

damage. Although a new president was inaugurated two weeks later, the attack marked the first

instance in over 150 years in which violence marred our peaceful transfer of political power

following an election.
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         While the defendant did not herself engage in violence or directly cause property damage,

she entered the Capitol building that day as part of a mob. And she did so through a doorway

that had been violently breached by other rioters less than 30 minutes earlier. Although her time

inside the building was brief—approximately 2 and a 1/2 minutes—while inside she posed

proudly for a photograph, which she posted on social media later that night.

         Most significantly, the defendant used social media to spread false information about the

2020 Presidential election and repeatedly endorsed violence. In one particular post she urged

others to bring firearms with them when they went to D.C. on January 6. And after the riot she

defiantly announced on social media that she was ready to “burn” America.

         When finally arrested, on January 19, 2021, she insisted she had done nothing wrong.

   II.      Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol

         The Capitol is secured 24 hours a day by the U.S. Capitol Police (USCP). Restrictions

around the Capitol include permanent and temporary security barriers and posts manned by

USCP officers. Only authorized people with appropriate identification are allowed access inside

the Capitol. On January 6, 2021, the exterior plaza of the Capitol was also closed to members of

the public, as a joint session of the United States Congress convened inside. During the session,

elected members of the United States House of Representatives and the United States Senate

were meeting to certify the vote count of the Electoral College of the 2020 Presidential

Election. The joint session began at approximately 1:00 p.m. By approximately 1:30 p.m., the

House and Senate adjourned to separate chambers to resolve a particular objection. Vice

President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber. As the proceedings continued in both the House and the Senate, and with



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Vice President Mike Pence still presiding over the Senate, a large crowd gathered outside the

Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the Capitol, USCP were present and attempting to keep the crowd away from the

building and the proceedings underway inside.

       As the certification proceedings were still underway, the exterior doors and windows of

the Capitol were locked or otherwise secured. USCP officers attempted to maintain order and

keep the crowd from entering the Capitol. However, shortly after 2:00 p.m., individuals in the

crowd forced entry into the Capitol, including by breaking windows and assaulting USCP

members, as others in the crowd encouraged and assisted them.

       Shortly thereafter, at approximately 2:20 p.m. members of the House of Representatives

and Senate, including the President of the Senate, Vice President Mike Pence, were instructed to

--and did--evacuate the chambers. At approximately 2:43 p.m., a USCP officer fatally shot one

of the rioters, after she disobeyed the officer’s verbal commands to stay back, and climbed

through a window in the Speaker’s Lobby near the House chamber.

       As a result of the riot, the Congressional proceedings were suspended from

approximately 2:20 p.m. until shortly after 8:00 p.m.

       During national news coverage of these events, video recorded by persons who were

present on the scene emerged that depicted numerous violations of local and federal law,

including assaults on police officers, destruction and theft of government property, and scores of

individuals inside Capitol without authority to be there.

                  The Defendant’s Social Media Posts Leading Up to January 6

       From shortly after Election Day, November 3, 2020, and continuing up to January 6,

2021, the defendant posted false information and sent angry messages about the election on her

Facebook page, including messages promoting violence.

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        On November 5, 2020, she posted:


                 I'm a women [sic] with 3 kids! And I made it to every Rally!! No
                 way NJ count all the votes! My vote still not Coumt [sic]![1]
                 Every Rally In NJ were [sic] getting thousands!!!! Rise up! You
                 want to keep your greed [sic] your gun your family! Then stand
                 up! I won't stop ! They have to kill me!!! To remove me! Share
                 it! It’s not time for brainwashed people oh we don't like trump!
                 Trump supporters already planning on taking the streets! we all
                 need to be one [sic, on] hand!!

(emphasis added).

        On December 21, 2020, the defendant posted this message:


                 Best president ever, we will not standby, we will not give up, as
                 Democrats scared from the riots, will guess what we are 74
                 million American that they won't shut up we will take the street
                 1776 again

(emphasis added).

        On December 23, 2020, the defendant began posting about her plans to attend a rally in

D.C. on January 6, 2021. On December 28, 2020, referring to the upcoming “rally,” she posted:


                 Yeah bring your own guns if you will stay there by yourself
                 there's no one with you from us, do you think BLM coming with
                 no weapons? I'm bringing with me some toys also[.]

(emphasis added).

        On January 3, 2021, she exchanged multiple Facebook direct messages about her

preparations for the rally. At 5:46 p.m. she messaged:


                 I'm bringing paper [sic, pepper] spray, knife and a small toy for
                 protection.. and the boys They always watch over us especially


        1
         The defendant is a resident of New Jersey, but was born and raised in the Middle East. She is not a native
English speaker.


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               me because when I'm in the middle I don't care I just go and start
               attacking BLM [Black Lives Matter] if they say anything[.]

In a post a few minutes later she revealed her “toy” was a one-million-volt “self-defense” stun

gun.

       The defendant also posted about her intention to go the Capitol on January 6.

Specifically, on January 4, she posted that there were “3 events” taking place in D.C. on January

5 - 6, and attached this screenshot:




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At the time she posted the screen-shot the website “WildProtest.com” included this statement:

“We the People must take to the US Capitol lawn and steps and tell Congress #DoNotCertify on

#JAN6! Congress cannot certify this fraudulent Electoral College.”

       The defendant then posted this ominous warning late in the night on January 4: “It's

trump or Civil war[--]1776 coming.”

                             The Defendant’s Conduct on January 6

       The defendant traveled by train from New Jersey to D.C. the evening of January 5, and

spent the night at a D.C. hotel. She would later tell law enforcement agents that she went to a

rally on the ellipse the following morning.

       The defendant appears in numerous videos from several sources--police body-worn

camera (BWC), USCP closed-circuit video (CCV) camera, and social media—in connection

with the attack on the Capitol. An interior USCP CCV camera pointed toward a west doorway

on the Senate side of the Capitol recorded her entering the building at 3:13 p.m. That doorway

had been first violently breached at 2 p.m. by other rioters. It was then re-secured by USCP

members several minutes later before being breached again at 2:49 p.m.

       At 3:13 p.m., the defendant walked through the doorway along with multiple

other rioters, as shown in the still image below.




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.



      A few moments thereafter she posed for a triumphant photograph.




      She then left through the same doorway about two minutes later. Other video

sources show that she remained on the Capitol grounds for at least another 75 minutes,

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wandering back and forth among other rioters and occasionally verbally engaging with

law enforcement members. These video sources include BWC recordings which unlike

USCP CCV recordings include an audio component. At one point she can be seen

angrily gesturing while yelling toward the Capitol building, and presumably to the

Members of Congress she believes are inside, “F*ck you, f*ck you, we will hurt you!”

An image from that particular recording appears below.




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                    The Defendant’s Social Media Posts Over the Next Several Days

         The defendant’s Facebook posts later in the night on January 6, show her intense

anger at law enforcement members and lack of remorse:

         “BIM [sic, Black Lives Matter] burned the country down, they never got Treat us like us

         with full force”;

         “I was inside[,] we didn't do anything wrong.”; and

         “I will never recovered [sic] from what I saw.”[2]

In one post that night she issued this stark warning: “'I guess now we need to burn the country[;]

they never did this to BLM.”

         On January 7, she proudly posted on her Facebook page the image of herself in the

Capitol Building:




         2
          This particular post followed earlier posts that reference the police-involved fatal shooting of one of the
rioters, which the defendant, in some of those posts, claims to have seen.

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With the image, she sent a boastful message: “I was the only from my group to enter the

capitol[;] Carlos [and] the rest run away and left me alone[;] I got teargas and pepper spray but

I made history . . . .”

          Her mood darkened again two days later, however, and she doubled down on her earlier
threat:


                 We've been saying this for long time, I guess and I believe after
                 being in DC and a witness it [sic] the people are more angry[;]
                 Civil War is coming and I will be happy to be a part of it


(emphasis added).




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                                            The Defendant’s Arrest

           On January 17, 2021, United States Magistrate Judge Robin M. Meriweather signed a

complaint against the defendant, charging her with misdemeanor offenses related to her conduct

in and around the Capitol on January 6. The Court also issued a warrant for the defendant’s

arrest, which was executed on January 19, 2021, at her Fairfield, New Jersey home.

           Following her arrest, the defendant waived her Miranda rights and gave a voluntary

statement to FBI agents. She also cooperated during the hours-long interview and even allowed

the agents to examine her smart telephone for evidence of relating the events of January 6. But

she expressed no remorse for her conduct during the riot.

                                       The Charges and Plea Agreement

           The government thereafter charged the defendant in a four-count Information with

entering and remaining in a restricted building, in violation of 18 U.S.C. § 1752(a)(1); engaging

in disorderly and disruptive conduct in a restricted building, in violation of 18 U.S.C. §

1752(a)(2); violently entering and engaging in disorderly conduct in a Capitol building, in

violation of 40 U.S.C. § 5102(e)(2)(D); and parading, demonstrating or picketing in a Capitol

building, in violation of 40 U.S.C. § 5102(e)(2)(G). On August 23, 2021, she pled guilty to

Count Four of the Information. In exchange the government has agreed to dismiss the remaining

charges at sentencing.

    III.         Statutory Penalties

           As noted by the plea agreement and the presentence report, the defendant faces up to six

months of imprisonment and a fine of up to $5000. 3 She must also pay restitution, as provided




         Because the defendant has pled guilty only to a petty offense, a term of supervised release is not
           3

authorized. See 18 U.S.C. § 3583(b)(3).

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for in the plea agreement, in the amount of $500. See United States v. Anderson, 545 F.3d 1072,

1078-79 (D.C. Cir. 2008); 18 U.S.C. § 3663(a)(3).

   IV.      Sentencing Factors Under 18 U.S.C. § 3553(a)

         Among the factors set forth in 18 U.S.C. § 3553(a), the Court must consider in

formulating a sentence are:


                (1)         the nature and circumstances of the offense and the history
                            and characteristics of the defendant;

                (2)         the need for the sentence imposed—

                      (A)       to reflect the seriousness of the offense, to promote
                                respect for the law, and to provide just punishment for
                                the offense;

                      (B)       to afford adequate deterrence to criminal conduct;

                      (C)       to protect the public from further crimes of the
                                defendant; and

                      (D)       to provide the defendant with needed educational or
                                vocational training, medical care, or other correctional
                                treatment in the most effective manner;

                (3)         the kinds of sentences available;

                            .      .       .

                (6)         the need to avoid unwarranted sentence disparities among
                            defendants with similar records who have been found guilty
                            of similar conduct; and

                (7)         the need to provide restitution to any victims of the offense.


18 U.S.C. § 3553(a). The Court is also required “to impose a sentence sufficient,

but not greater than necessary, to comply with the purposes set forth in paragraph

(2)” above. Id.

         Application of these factors supports a sentence of 30 days of incarceration.

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           A. The Nature and Circumstances of the Offense

       The attack on the Capitol, on January 6, 2021 is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms and was only the second

time in our history when the Capitol was literally occupied by hostile actors. But this time it was

by Americans, not by foreign invaders as in 1814. The attack defies comparison to other events.

       While each person convicted in connection with the attack should be sentenced based on

his or her individual conduct, every January 6 rioter who penetrated the Capitol would have

passed numerous barriers bearing signs prohibiting further access. In addition, even if an

individual attacker did not personally attack law enforcement officers or damage property, each

would have very likely observed other attackers fighting with law enforcement and likely would

have smelled chemical irritants in the air.

       Each defendant’s conduct should be assessed in light of several factors to determine his

or her relative culpability. Additionally, while looking at each rioter’s individual conduct, we

must assess the conduct on a spectrum. This Court, in determining a fair and just sentence on

this spectrum, should look to a number of critical factors, to include: (1) whether, when and how

the Capitol attacker entered the Capitol building; (2) whether the attacker engaged in or incited

violence; (3) whether the attacker engaged or incited any acts of property destruction; (4) the

attacker’s reaction to acts of violence or destruction; (5) whether during or after the riot, the

attacker destroyed evidence; (6) for those that entered the Capitol Building the length of time

they remained inside and the sensitivity of the specific locations they accessed; (7) the attacker’s

statements in person or on social media regarding the attack; (8) whether the attacker cooperated

with law enforcement; and (9) whether the attacker showed remorse or contrition. While these




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factors are not exhaustive nor dispositive, they help to place each individual Capitol attacker on a

spectrum with respect to the appropriate sentence.

              B. The History and Characteristics of the Defendant

        This defendant has had no prior encounters, as an accused, with the criminal justice

system. If her statements to the Probation Office are accurate, she has a difficult life, suffering

abuse both as a child and an adult. She is also raising two minor children as the sole custodial

parent. Admittedly, her history and characteristics thus militate in favor of a non-custodial

sentence.

              C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
                 and Promote Respect for the Law

        The attack on the Capitol building was an attack on the rule of law. As FBI Director

Christopher Wray has stated: “The violence and destruction of property at the U.S. Capitol on

January 6 showed a blatant and appalling disregard for our institutions of government and the

orderly administration of the democratic process.” 4 As with the nature and circumstances of the

offense, this factor supports a sentence that includes confinement. See United States v. Joshua

Bustle and Jessica Bustle, 1:21-cr-238-TFH, Tr. 08/24/21 at 3 (“As to probation, I don't think

anyone should start off in these cases with any presumption of probation. I think the

presumption should be that these offenses were an attack on our democracy and that jail time is

usually -- should be expected”) (statement of Judge Hogan).

              D. The Need for the Sentence to Afford Adequate Deterrence

        Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by a


        4
          Federal Bureau of Investigation Director Christopher Wray, Statement before the House Oversight and
Reform Committee (June 15, 2021) (hereinafter “FBI Director Wray’s Statement”), available at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20Testimony.pdf

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particular defendant. United States v. Russell, 600 F.3d 631, 637 (D.C. Cir. 2010); 18 U.S.C. §

3553(a)(2)(B), (C).

       General Deterrence

        The demands of general deterrence weigh in favor of confinement. The violence at the

Capitol on January 6 was intended to interfere, and did interfere, with one of the most important

democratic processes we have: the peaceful transfer of power to a newly elected President. As

noted by Judge Moss during sentencing in United States v. Paul Hodgkins, 1:21-cr-188-RDM:


                [D]emocracy requires the cooperation of the governed. When a
                mob is prepared to attack the Capitol to prevent our elected
                officials from both parties from performing their constitutional and
                statutory duty, democracy is in trouble. The damage that [the
                defendant] and others caused that day goes way beyond the
                several-hour delay in the certification. It is a damage that will
                persist in this country for decades.

Tr. at 69-70.

       Indeed, the attack on the Capitol means “that it will be harder today than it was [nine]

months ago for the United States and our diplomats to convince other nations to pursue

democracy. It means that it will be harder for all of us to convince our children and our

grandchildren that democracy stands as the immutable foundation of this nation.” Id. at 70; see

also United States v. Thomas Gallagher, 1:21-CR-00041 Tr. 10/13/2021 at 37 (“As other judges

on this court have recognized, democracy requires the cooperation of the citizenry. Protesting in

the Capitol, in a manner that delays the certification of the election, throws our entire system of

government into disarray, and it undermines the stability of our society. Future would-be rioters

must be deterred.”) (statement of Judge Nichols at sentencing).

       The gravity of these offenses demands deterrence. The attack on the Capitol was not a

protest. It is important to convey to those who might contemplate a similar attack in the future—

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especially those who intend to improperly influence the democratic process—that their actions

will have substantial adverse consequences. There is possibly no more important factor that this

Court must consider.

       Specific Deterrence

       Just a few days before the riot this defendant repeatedly warned her Facebook followers

that if her preferred candidate was not declared the winner of the 2020 presidential election it

would be “civil war” or “1776,” clearly indicating a willingness to engage in violence. She also

stated her intention to bring weapons to the January 6 “rally” and urged others to bring firearms.

At the Capitol she yelled threats that “we will hurt you,” and then after the riot, she posted of the

need to “burn” the country. These statements demonstrate that specific deterrence is an

appropriate consideration in this case.

           E. The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, to

assault on law enforcement officers, to conspiracy to corruptly interfere with Congress. Each

offender must be sentenced based on their individual circumstances, but in light of their

participation in the January 6 riot. Moreover, each offender’s case will exist on a spectrum that

ranges from conduct meriting a probationary sentence to crimes necessitating years of

imprisonment. The misdemeanor defendants will generally fall on the lesser end of that

spectrum, but misdemeanor breaches of the Capitol on January 6, 2021 were not minor crimes

and probationary sentence, without any requirement of confinement, should not be the default.

Indeed, the government invites this Court to join Judge Lamberth’s admonition that “I don’t

want to create the impression that probation is the automatic outcome here because it’s not going



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to be.” United States v. Anna Morgan-Lloyd, 1:21-cr-00164 (RCL), Tr. 6/23/2021 at 19; see also

United States v. Valerie Ehrke, 1:21-cr-00097 (PFF), Tr. 9/17/2021 at 13 (“Judge Lamberth said

something to the effect . . . ‘I don't want to create the impression that probation is the automatic

outcome here, because it's not going to be.’ And I agree with that. Judge Hogan said something

similar.”) (statement of Judge Friedman).

       While the number of sentenced defendants is low, the sentencing judges and the

government have drawn meaningful distinctions between offenders, including those convicted

only of misdemeanors. Those who engaged in felonious conduct are generally more dangerous,

and thus treated more severely in terms of their punishment. Those who trespassed, but engaged

in aggravating conduct, merit serious consideration of institutional incarceration. While those

who trespassed, but engaged in less serious aggravating conduct, deserve a sentence more in line

with minor incarceration or home confinement. After a review of the applicable section 3553(a)

factors, the government submits that this defendant’s conduct in connection with the riot, which

must include consideration of her social media postings before and after January 6, merits a

sentence of brief incarceration.

                                            Conclusion

       The government requests that this Court sentence the defendant to a 30-day period of

institutional incarceration. The Court should also order the defendant to pay $500 in restitution,

as required by the plea agreement.




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                            Respectfully submitted,

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